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IH-32                                                                               Rev: 2014-1




                     United States District Court
                                 for the
                    Southern District of New York
                             Related Case Statement
                                               
                             Full Caption of Later Filed Case:

VRB 4 Investments Ltd.




                 Plaintiff                                        Case Number


                                                23-cv-5287
                   vs.


Bolivarian Republic of Venezuela




                Defendant

                             Full Caption of Earlier Filed Case:
              (including in bankruptcy appeals the relevant adversary proceeding)


Pharo Gaia Fund, Ltd., Pharo Macro Fund,
Ltd., and Pharo Trading Fund, Ltd.



                 Plaintiff                                        Case Number

                                                20-cv-8497
                   vs.


Bolivarian Republic of Venezuela




                Defendant


                                            Page 1
               Case 1:23-cv-05287 Document 5 Filed 06/22/23 Page 2 of 2
IH-32                                                                                         Rev: 2014-1



Status of Earlier Filed Case:

        ✔
        ____ Closed
                          (If so, set forth the procedure which resulted in closure, e.g., voluntary
                          dismissal, settlement, court decision. Also, state whether there is an appeal
                          pending.)

     ____ Open            (If so, set forth procedural status and summarize any court rulings.)


Case filed in October 12, 2020, and on October 15, 2020, was accepted as related to Casa Express Corp v.

Bolivarian Republic of Venezuela, 1:18-cv-11940-AT. The case is now closed following entry of default

judgment against the Bolivarian Republic of Venezuela on October 25, 2021. There is no appeal pending.
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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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
This case, like Pharo Gaia, is one of several breach-of-contract actions against the
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Bolivarian Republic of Venezuela involving the enforcement of sovereign debt obligations
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issued by the Republic and encompassing most of the same series of bonds. Both actions
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involve common issues of law and fact. Hearing these cases together is necessary to avoid
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conflicting orders regarding the enforceability of the Republic's debt. It would also avoid a
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substantial duplication of effort, and expense, delay, or undue burden on the Court, the
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parties, and witnesses. Venezuela has acknowledged that breach of contract actions against
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it regarding its sovereign debt are related actions by filing a statement of relatedness to that
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effect. See Statement of Relatedness, Pharo Gaia Fund, Ltd. v. Bolivarian Republic of
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Venezuela, No. 19-cv-3123 (Apr. 8, 2019), ECF No. 3.
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
          /s/ Brandon L. Arnold                                                 06/22/2023
Signature: ________________________________________                      Date: __________________

          Kramer Levin Naftalis & Frankel LLP
Firm:         ________________________________________


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